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                          No. 22-3076


  United States Court of Appeals
       for the Third Circuit
                    FERNANDO NUÑEZ, JR.,
                                                    Plaintiff–Appellant,
                                 v.
      TOM M. WOLF, GEORGE LITTLE, TABB BICKELL,
                                                  Defendants–Appellees.

      Appeal from the United States District Court
        for the Middle District of Pennsylvania,
                   No. 3:15-cv-01573
               (Judge Jennifer P. Wilson)

   REPLY BRIEF FOR PLAINTIFF-APPELLANT
           FERNANDO NUÑEZ, JR.

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                           INTRODUCTION

     DOC’s response brief confirms that this Court should reverse the

district court and grant Mr. Nunez’s request to engage in congregate

prayer, to consummate his marriage, and to receive a religious-based cir-

cumcision. DOC showed a clear misunderstanding of RLUIPA at sum-

mary judgment, most notably by failing to mention the Supreme Court’s

seminal decision in Holt v. Hobbs, 574 U.S. 352 (2015), see JA115–142,

and by offering declarations from prison officials that claim only a “legit-

imate penological interest” rather than the “compelling interest”

RLUIPA requires. The district court showed that it too fundamentally

misunderstood the strict scrutiny inquiry mandated by RLUIPA, citing

Holt just once, failing to cite the Court’s opinion in Ramirez v. Collier,

142 S. Ct. 1264 (2022)—which had come out months earlier—and repeat-

edly misapplying both the compelling-interest and least-restrictive-

means test.

     Now before this Court, rather than correct course, DOC doubles

down. Most remarkably, DOC tries to defend its “decision not to focus on

Holt” by claiming that this pivotal case in RLUIPA jurisprudence “in-

volved a restriction placed on facial hair, and is not factually analogous
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to any of the issues in this case.” Resp. Br. 19 n.2. Nonsense. Holt’s

seismic impact and critical importance in this case comes not from its

facts but from how it clarified what RLUIPA requires before the govern-

ment may impose a substantial burden on an incarcerated person’s reli-

gious exercise: that “the Government demonstrate that the compelling

interest test is satisfied”—not just say it; that courts take on “the respon-

sibility[] conferred by Congress” to apply strict scrutiny—not afford “un-

questioning deference” to prison officials; and that the “least-restrictive-

means standard is exceptionally demanding”—not a rubber stamp. 574

U.S. at 362–65.

     In its brief, DOC claims that its blunder in claiming only a “legiti-

mate penological interest[]” rather than a “compelling” one is not fatal

because post-Holt cases use the term “legitimate.” Resp. Br. 19 n.2. How-

ever, the cases DOC cites as support use this term only to explain that

this “is the wrong legal test” under RLUIPA, see Robinson v. Superinten-

dent Houtzdale SCI, 693 F. App’x 111, 114, 117 (3d Cir. 2017). Taking

the mistaken view that a “legitimate” interest is enough, DOC’s litters

its brief with this self-defeating claim. See, e.g., Resp. Br. 23 (“[DOC] has

several legitimately penological interests”); 24 (“serves the legitimate



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penological interest”); 26 (“There are legitimate penological reasons for

this.”).

      DOC’s efforts on the least-restrictive-means test take this same

puzzling approach, essentially ignoring its burden under RLUIPA.

Though this “exceptionally demanding” standard requires DOC to

demonstrate that it “lacks other means of achieving” its goals, places the

burden on DOC to prove that “proposed alternatives” will not do, and

commands that DOC “must use” any “less restrictive means [that] is

available,” Holt, 574 U.S. at 364–65, DOC fails to acknowledge—let alone

rebut—“obvious alternatives” and does not even try to “explain why” the

alternatives put forward by Mr. Nuñez cannot be implemented. Ramirez,

142 S. Ct. at 1281.

      The district court’s opinion is deeply flawed. As the record makes

clear, on each of Mr. Nuñez’s three requests, DOC failed to carry its heavy

burden under RLUIPA. Its response brief leaves no doubt. Now, almost

eight years after Mr. Nuñez filed his complaint, this Court should reverse

the district court and remove the substantial burdens DOC has placed on

Mr. Nuñez’s religious exercise.




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                              ARGUMENT

I.   DOC’s Denial Of Mr. Nuñez’s Request To Engage In Congre-
     gate Prayer Violates RLUIPA.

     Mr. Nuñez has established a prima facie case under RLUIPA, so he

is entitled to relief unless DOC can “show that its policy is the least re-

strictive means of furthering its compelling interests.” Holt v. Hobbs, 574

U.S. 352, 356 (2015); see Resp. Br. 13 (acknowledging this burden).1 As




1 DOC now attempts to argue that its categorical denial of Mr. Nuñez’s

requests to engage in congregate prayer and to consummate his marriage
do not constitute a “substantial burden” on his religious exercise. Resp.
Br. 15, 23. But the district court correctly explained that DOC did not
“ma[k]e any challenge to Plaintiff’s establishment of a prima facie case”
at summary judgment. JA009, 012, 015. In any event, it is indisputable
that Mr. Nuñez has established a prima facie case: DOC has prohibited
him from engaging in congregate prayer (publicly or privately), receiving
a religious-based circumcision, and consummating his marriage. These
outright bans unquestionably impose a substantial burden on Mr.
Nuñez’s religious exercise. See Washington v. Klem, 497 F.3d 272, 280
(3d Cir. 2007) (“[A] substantial burden exists where” the government
“puts substantial pressure on an adherent to substantially modify his be-
havior and to violate his beliefs.”). If such outright bans “do not amount
to a substantial burden,” “it is hard to see what would.” Little Sisters of
the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2377
(2020). So too, DOC’s suggestion that these bans nonetheless “fulfil[l]
several of Nuñez’s wishes” misapprehends both the record and the law.
Compare Resp. Br. 15, 22–23 (“[N]uñez is permitted to pray on his own
in the privacy of his cell, and/or seated quietly with his visitors in the
visiting room.”), with Holt, 574 U.S. at 361–62 (explaining that, under
“RLUIPA’s ‘substantial burden’ inquiry,” “whether the RLUIPA claimant
is able to engage in other forms of religious exercise” is irrelevant).

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DOC’s response brief makes clear, it failed to prove that its unyielding

refusal to accommodate Mr. Nuñez’s request to engage in congregate

prayer furthers any compelling interest or that its outright ban is the

least restrictive means of furthering any such interest.

     A.    DOC Has No Compelling Interest In Denying Mr.
           Nuñez’s Request To Engage In Congregate Prayer.

     RLUIPA does not allow DOC to “discharge [its] burden by pointing

to ‘broadly formulated interests’” in the abstract. Ramirez v. Collier, 142

S. Ct. 1264, 1278 (2022) (quoting Burwell v. Hobby Lobby Stores, Inc., 573

U.S. 682, 726 (2014)). Rather, it must “demonstrate that [its] compelling

interest is satisfied through application of [its policy] to [Mr. Nuñez],”

Holt, 574 U.S. at 362; see Br. 24. As explained, the district court failed

to hold DOC to this burden and conduct the “case-by-case analysis that

RLUIPA requires,” Ramirez, 142 S. Ct. at 1280, and DOC, for its part,

tried to justify its ban on congregate prayer by pointing to “legitimate

penological interest[s]” rather than a “compelling interest.” Br. 26.

     Remarkably, DOC’s response brief takes this same tack, doubling

down on its use of the outdated, inapplicable “legitimate penological in-

terests” standard. See Resp. Br. 19 n.2 (“The term ‘legitimate’ has been

used to characterize and discuss government interests in RLUIPA cases


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before and after the Holt v. Hobbs decision.”). More still, DOC tries to

justify its “decision not to focus on Holt” or its requirements by noting

that, “[w]hile it is true that Holt alleged a RLUIPA violation, that case

involved a restriction placed on facial hair” and “is not factually analo-

gous” to the issues in this case. Id. This meager attempt to distinguish

the Court’s seminal RLUIPA case would make a first-year law student

blush. Holt’s jurisprudential impact has nothing to do with facial hair

and everything to do with the test it applied and clarified, including its

teaching that “RLUIPA, like RFRA … requires the Government to

demonstrate that the compelling interest test is satisfied.” 574 U.S. at

362–63.

     Indeed, DOC’s claim that the “legitimate penological interest” test

applied in First Amendment cases is fungible with RLUIPA’s strict scru-

tiny test is undermined by the very cases DOC relies on. In this Court’s

opinion in Watson v. Christo, for example, the phrase “legitimate peno-

logical interests” appears only once, and that is for the sole purpose of

explaining that “the prison’s burden is greater under RLUIPA than the

First Amendment.” 837 F. App’x 877, 882 n.11 (3d Cir. 2020) (comparing

Turner v. Safley, 482 U.S. 78, 89 (1987) with Holt, 574 U.S. at 352–54).



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Similarly, in Robinson v. Superintendent Houtzdale SCI (the only other

post-Holt case DOC cites) the phrase appears three times: twice simply

to note that this was the standard the Magistrate Judge had applied be-

low, and once more to reverse the Magistrate Judge precisely because that

“is the wrong legal test for analyzing a regulation” under RLUIPA. 693

F. App’x 111, 114, 117 (3d Cir. 2017).

     DOC’s response offers only generalities and speculation as to why

it prohibited Mr. Nuñez’s congregate prayer request. RLUIPA, however,

requires more. Not one of DOC’s broad, conclusory interests is sufficient

to establish the compelling interest required under RLUIPA’s “more fo-

cused inquiry.” Holt, 574 U.S. at 363.

     Safety and Security. DOC does not and cannot show that its de-

nial of Mr. Nuñez’s request to engage in congregate prayer furthers its

interest in “preventing contraband from entering the prisons via private

contact visits.” Resp. Br. 16. Given the opportunity to describe “the as-

serted harm of granting [a] specific exemption[]” to Mr. Nuñez, Fulton v.

City of Philadelphia, 141 S. Ct. 1868, 1881 (2021), the most DOC offers

is a reiteration of the two conclusory assertions it presented at summary

judgment: (1) that Mr. Nuñez “poses a specific security concern when it



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comes to contraband being brought into the prison” and (2) that “it would

be very difficult for security personnel to observe whether contraband is

being passed” if Mr. Nuñez and his visitors are “standing up and bowing

down repeatedly” while praying, Resp. Br. 5, 16. Just like at summary

judgment, DOC provides no basis for either claim, suggesting that it ex-

pects this Court will simply “defer[] to [its] experience and expertise.”

Resp. Br. 14. But as explained, RLUIPA “does not permit such unques-

tioning deference.” Holt, 574 U.S. at 364.

     First, DOC’s assertion that Mr. Nuñez poses a “direct” or “specific”

threat regarding contraband has been often repeated but never substan-

tiated. As Mr. Nuñez explains—and DOC does not dispute—the evidence

shows that he has “never been issued a prison charge . . . for violating

any visiting policy or rule.” Br. 29–30 (emphasis added). The sole basis

for DOC’s assertion thus is the conclusory statement from a lone prison

official who “expressed the belief” that Mr. Nuñez (somehow) presents a

risk when it comes to smuggling in contraband, but failed to “point[] to

any instance[]” of Mr. Nuñez ever doing so. Holt, 574 U.S. at 359; see

JA236. As explained, this is insufficient. See, e.g., Holt, 574 U.S. at 371




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(Sotomayor, J., concurring) (“[P]rison policies ‘grounded on mere specu-

lation’ are exactly the ones that motivated Congress to enact RLUIPA.”).

     Second, the notion that the movements of Islamic prayer will aid in

the clandestine passing of contraband defies common sense. To be sure,

it would be concerning if an inmate were in fact “able to conceal [illicit]

items from security keeping watch,” Resp. Br. 16, but DOC provides no

explanation—let alone evidence—as to how “standing up and bowing

down repeatedly” would facilitate that surreptitious conduct, id. Indeed,

after considering the conduct DOC does allow in its visiting rooms—sit-

ting in a group where each person has free use of their hands along with

a table to obstruct a guard’s vision—DOC’s suggestion that a prayer in-

volving two people prostrating on their knees, toes, forehead, and hands

creates a greater risk of illicit activity “is hard to take seriously.” Holt,

574 U.S. at 363; see Br. 39; JA292 (Nunez Decl. ¶ 34) (explaining that

“prayer in congregation” requires Mr. Nuñez to lead a prayer with the

visitor “standing next to me or behind me”).

     Converting Neutral Space Into One Used for Religious Pur-

poses. Mr. Nuñez has already explained that his “private congregate

prayer would take place in private, not in the ‘visiting room,’” Br. 34, but



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DOC maintains that “[i]f Nuñez engages in his congregate prayer in the

way he wishes, no one else can reasonably meet at the same time given

the noise and distraction,” Resp. Br. 16. This claim is not only specula-

tive, “it is nonsensical.” Br. 34. Because DOC has failed to clarify, it

remains a mystery how a congregate prayer occurring in a different room

would “take[] away visiting time from other inmates” or could be a dis-

traction to those inmates in another room. Resp. Br. 16.

        DOC goes on to make another unelaborated claim that if private

rooms for prayer were offered to some inmates and not others, the prison

might devolve into chaos. That is, DOC claims that providing a religious

accommodation could lead to “feelings of resentment” that could “mani-

fest into assaults very quickly in the prison setting.” Resp. Br. 17. DOC’s

response brief, just like its motion for summary judgment, “provides no

evidence that any religious accommodation has ever led to [this] parade

of horribles.” Br. 34. The law is clear: This kind of “speculation is insuf-

ficient to satisfy [DOC’s] burden,” under RLUIPA. Ramirez, 142 S. Ct. at

1280.

        Staffing and Space. In its final shot at establishing a compelling

interest, DOC turns to the “classic rejoinder of bureaucrats throughout



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history,” Holt, 574 U.S. at 368—that “if Nuñez were to be given a private

room to engage in … group prayers, other inmates would surely expect

the same treatment.” Resp. Br. 17. But as explained, the Supreme Court

has rejected this “interest” time and again. See, e.g., Holt, 574 U.S. at

368. And DOC once again provides “no evidentiary basis” for this argu-

ment in the first place. Br. 31.

     Even more, DOC’s resource-related concerns are completely un-

moored from Mr. Nuñez’s congregate prayer request. DOC points to a

hypothetical flood of requests from other inmates, resulting in the need

for “a virtually limitless number of rooms” along with countless “inmates

[who] would likely demand/expect” religious items such as “prayer rugs,

crosses, kneeling benches, [and] ceremonial pipes.” Resp. Br. 17. But

RLUIPA “take[s] cases one at a time,” Ramirez, 142 S. Ct. at 1281, and

in this case Mr. Nuñez has requested nothing more than a single space

where he may engage in congregate prayer. DOC’s “real concern seems

to be with other, potentially more problematic requests down the line.”

Ramirez, 142 S. Ct. at 1281. In other words, DOC’s fear of a “scarcity of

resource[s],” Resp. Br. 17, has nothing to do with Mr. Nuñez’s request,




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and therefore cannot establish a compelling interest here. Cf. Yellowbear

v. Lampert, 741 F.3d 48, 62 (10th Cir. 2014) (Gorsuch, J.).

     Tellingly, though Mr. Nuñez pointed to several DOC policies that

highlight its “inconsistent and underinclusive pursuit of its interests as

applied to secular activities,” Br. 32, DOC offered no response. For ex-

ample, Mr. Nuñez pointed out that DOC has failed to explain why its

“playrooms for the visiting children of inmates … complete with the ‘ac-

coutrement’ of toys” do not raise the same concerns regarding contra-

band, inter-inmate jealousy, or scarcity of resources. Id. at 32–33. DOC

remained silent. DOC also had the chance to explain why providing a

“designated space within the prison” for outside Religious Advisors to

counsel inmates does not raise identical concerns. Id. at 33. Once again,

silence. As explained, under RLUIPA, this silence is fatal to DOC’s claim

of compelling interest. See id. at 31.

     B.    DOC’s Ban On Congregate Prayer Is Not The Least Re-
           strictive Means Of Furthering Its Purported Interests.

     DOC comes nowhere close to satisfying the “exceptionally demand-

ing” least-restrictive means standard required by RLUIPA. Holt, 574

U.S. at 364. As relevant here, where there are “obvious alternatives” to

the government’s policy, the government is charged with “explain[ing]


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why” these alternatives are not viable. Ramirez, 142 S. Ct. at 1279, 1281.

Both at summary judgment and in its response brief, DOC has made no

attempt to do so.

     Mr. Nuñez offered common-sense suggestions that would allow him

to engage in congregate prayer in a manner compatible with DOC’s in-

terests in safety, neutrality, and resource allocation. But DOC responds

to none of these suggestions. Mr. Nuñez explained that DOC could re-

quire him and his visitors “to space out at appropriate distances” (making

it virtually impossible to pass contraband unnoticed), as well as “exercise

its considerable latitude to schedule Nuñez’s visits,” thereby minimizing

administrative issues or risk of inmate jealousy. Br. 39. DOC fails even

to acknowledge these suggestions, and thus has offered not a single “plau-

sible explanation” as to why its uncompromising policy is the only option.

Holt, 574 U.S. at 371 (Sotomayor, J., concurring); id. at 365.

     Instead, DOC hopes that its description of “an analogous case” will

fill the holes in its least-restrictive-means argument. Resp. Br. 18 (citing

Vega v. Lantz, No. 3:04-CV-1215-DFM, 2009 WL 3157586 (D. Conn. Sept.

25, 2009)). But DOC’s reliance on an out-of-state, pre-Holt opinion is both

misplaced and self-defeating. For starters, “when applying RLUIPA,



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context matters,” Watson, 837 F. App’x at 882, and the context of Vega is

anything but “analogous” to the matter at hand. Vega involved an inmate

who complained that a Connecticut prison “failed to provide or permit

congregational prayer five times daily.” 2009 WL 3157586, at *1 (empha-

sis added). This request is far more extensive than that of Mr. Nuñez,

who has no issue with DOC retaining authority over the scheduling of his

requested congregate prayer. See Br. 39.

     The grand irony of DOC’s reliance on Vega, moreover, is that the

state prison in Vega already “had a regulation that permitted its inmates

to engage in one congregate prayer per week.” Resp. Br. 18 (citing Vega,

2009 WL 3157586, at *2) (emphasis added). In other words, here DOC

attempts to justify a categorical ban on congregate prayer by pointing to

a jurisdiction that broadly offers the very accommodation Mr. Nuñez re-

quests. DOC does not provide a single “persuasive reason[] why it be-

lieves that it must take a different course,” Holt, 574 U.S. at 369—it in-

stead “ask[s] that [the Court] simply defer to [its] determinations,”

Ramirez, 142 S. Ct. at 1279. “That is not enough under RLUIPA.” Id.




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II.   DOC’s Denial Of Mr. Nuñez’s Request For Conjugal Visits To
      Consummate His Marriage Violates RLUIPA.

      On Mr. Nuñez’s request for conjugal visits to consummate his mar-

riage, rather than address the “focused” and “exceptionally demanding”

strict scrutiny standard RLUIPA requires, Holt, 574 U.S. at 362–64, DOC

attacks a strawman, arguing that “[p]risoners have no constitutional

rights … to contact or conjugal visits” in general. Resp. Br. 19. Even if

this were true, DOC can neither satisfy nor avoid its statutory burden

under RLUIPA by pointing to a lesser (and inapplicable) constitutional

burden.      As the Supreme Court has made clear, Congress enacted

RLUIPA “in order to provide greater protection for religious exercise than

is available under the First Amendment.” Holt, 574 U.S. at 357, 359–61.

DOC’s appeal to general constitutional principles thus is, at best, a non-

sequitur.2    Neither DOC’s references to inapposite case law, nor its




2 DOC’s countless attempts to recast Mr. Nuñez’s claim as involving “con-

stitutional rights” and “difficult policy choices” also fall flat. Resp. Br.
19–20. Mr. Nuñez’s conjugal-visit claim is straightforward: DOC’s ban
on conjugal visits unlawfully burdens his religious exercise under
RLUIPA by “prohibit[ing him] from obtaining a valid marriage … in the
eyes of his religious community and Allah.” Br. 48. He does not claim a
“due process right to unfettered visitation,” a “due process right to contact
visits,” a “freedom of association” right to conjugal visits, or a generic
“constitutional right to an overnight family visit.” Resp. Br. 19–20.

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reductionist mischaracterization of Mr. Nuñez’s marital religious beliefs

as no more than an “obligation[] regarding showing affection and love

toward his spouse,” Resp. Br. 22–23, permit DOC to eschew its statutory

obligations under RLUIPA, cf. 42 U.S.C. § 2000cc-5(7)(A) (protecting “any

exercise of religion, whether or not compelled by, or central to, a system

of religious belief”); Holt, 574 U.S. at 362.

      A.    DOC Has No Compelling Interest In Denying Mr.
            Nuñez’s Request To Consummate His Marriage.

      Right at the starting gate, DOC’s argument stumbles. To defend

its categorical refusal to allow Mr. Nuñez the opportunity to consummate

his marriage, DOC continues to point to “legitimate penological inter-

ests.” Resp. Br. 23. As explained, supra Part I.A, even the cases DOC

relies on make clear that the “legitimate penological interest standard

applies in the First Amendment context, but RLUIPA is broader than the

First Amendment and requires the ‘compelling government interest’ and

‘least restrictive means’ test of strict scrutiny.” Robinson, 693 F. App’x

at 117; see Resp. Br. 19 n.2 (citing id.). In any event, DOC’s broad, con-

clusory, and unsupported interests are insufficient to establish a compel-

ling interest in denying Mr. Nuñez the opportunity to consummate his

marriage.


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      The two purported interests DOC offers in its response are identical

to the ones it invoked regarding Mr. Nuñez’s request for congregate

prayer and should be rejected for the same reasons. Again, “the govern-

ment cannot discharge [its] burden by pointing to ‘broadly formulated

interests,’” Ramirez, 142 S. Ct. at 1278, and DOC’s imprecise and generic

“safety” and “staffing” interests are just that.

      With regard to safety and security, DOC again claims that “Nuñez

has shown himself to pose a direct threat regarding [the] introduction of

contraband into the Department.” Resp. Br. 23. But it still offers no

evidence to support this assertion. Even more, DOC does not contest that

Mr. Nuñez has never violated “any visiting policy or rule violation.” Br.

30.   In its response brief, DOC tries to backdoor another purported

“safety” interest—“preventing sexual assaults on government property,”

Resp. Br. 24–25. But this too is pure speculation, as evidenced by DOC’s

failure to provide citation to any page in the record to support this asser-

tion. Indeed, DOC does not “point[] to any instances in which this [hap-

pened] in [Pennsylvania] or elsewhere,” Holt, 574 U.S. at 359, nor does

DOC provide any reason to believe that Mr. Nuñez is likely to engage in

such conduct.



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     DOC’s complaints of lack of “staffing” and “space” fare no better.

DOC again loses sight of RLUIPA, reiterating its global worry that “[i]f

Nuñez is granted … an accommodation, certainly all inmates would ex-

pect the same, and the Department does not have the space to accommo-

date such requests.” Resp. Br. 23–24; see id. at 7 (making the same point

regarding congregate prayer space). But RLUIPA does not ask whether

DOC has an interest in denying “all inmates” their (hypothetical) accom-

modation requests. Rather, DOC must demonstrate a compelling inter-

est in avoiding “the asserted harm of granting [a] specific exemption[] to

[the] particular religious claimant[].” Fulton, 141 S. Ct. at 1881 (empha-

sis added). DOC supplements its staffing concerns by suggesting it has

an interest in avoiding the “absurd result” of a corrections officer “super-

vis[ing]” conjugal visits. Resp. Br. 24. But it still fails to cite a single

case where a prison has even claimed that such an interest is compelling.

See Br. 44–45.

     Finally, DOC asserts a “legitimate penological interest [in] prevent-

ing sexually transmittable infections from entering and spreading

around the prison population,” but again fails to connect this health con-

cern to Mr. Nuñez. Resp. Br. 24. DOC has no answer to “Mr. Nuñez’s



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repeated statements that he and his partner do not carry any STDs,” nor

did DOC even “attempt to verify this fact before denying the accommoda-

tion.” Br. 45. DOC’s only response is a blanket (and unsupported) asser-

tion that “[t]here would be no way … to ensure that safe sex was occur-

ring during a conjugal visit,” Resp. Br. 24, which comes nowhere close to

satisfy its burden to prove a compelling interest. Indeed, despite its bur-

den to show that it “has [a compelling] interest in denying an exception

to” Mr. Nuñez’s, Fulton, 141 S. Ct. at 1881, DOC’s entire analysis on this

issue fails to cite any piece of evidence from the record. See Resp. Br. 22–

25 (citing nothing).

     B.    DOC’s Ban On All Conjugal Visits, Even For Marriage
           Consummation, Is Not The Least Restrictive Means of
           Furthering Its Purported Interests.

     DOC cannot establish that its complete ban on conjugal visits is the

least restrictive means of furthering its purported security, safety, and

health concerns without first “consider[ing] and reject[ing] other means.”

Washington v. Klem, 497 F.3d 272, 284 (3d Cir. 2007). “If a less restric-

tive means is available for the Government to achieve its goals, [it] must

use it.” Holt, 574 U.S. at 365 (citation omitted). Yet despite Mr. Nuñez

raising several alternatives, DOC has “do[ne] nothing to rebut”—or even



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acknowledge—those alternatives or other “obvious alternatives” to its

rigid policy. See Ramirez, 142 S. Ct. at 1281.

     Just like at summary judgment, rather than attempt to make the

case-specific showing RLUIPA requires, DOC tries to satisfy the least-

restrictive-means test by block quoting a state court opinion. Resp. Br.

21 (quoting Thomas v. Corbett, No. 458 M.D. 2013, 2019 WL 1312873, at

*4 (Pa. Commw. Ct. Mar. 22, 2019)). This “attempt to satisfy the ‘excep-

tionally demanding’ least-restrictive-means test simply by pointing to a

different case, from a different court, involving a different plaintiff with a

different request” is simply inexplicable. Br. 49–50; cf. Thomas, 2019 WL

1312873, at *3 (government argued that “[i]n this particular case, to per-

mit conjugal visits would appear to require the [DOC] . . . to place its

imprimatur of approval on a situation that may well constitute a crime,

i.e., bigamy, if [Thomas] is indeed married to several women simultane-

ously” (emphasis added)).

     DOC’s further reliance on “case law in other areas of the country”

is equally misguided. DOC cites to three opinions from the Eastern Dis-

trict of California to support its argument “that Nuñez has no right to

conjugal visits.” Resp. Br. 21–22 (citing Owens v. Kernan, No. 2:16-cv-



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0167, 2016 WL 3361885 (E.D. Cal. June 16, 2016); Shields v. Foston, No.

2:11-cv-0015, 2013 WL 3456964 (E.D. Cal. July 9, 2013); Washington v.

Cate, No. 1:11-cv-00264, 2014 U.S. Dist. LEXIS 12402 (E.D. Cal. Jan. 31,

2014)). First, two of these cases come before Holt, and the one decided

after fails to mention Holt even once. Second, each involves a challenge

to a state prison policy that otherwise widely permits conjugal visits. See

Cal. Code. Regs., tit. 15 § 3177 (describing procedures and exclusion cri-

teria for “extended overnight visits, provided for eligible inmates and

their immediate family members”); see also Shields, 2013 WL 3456964 at

*5–6 (analyzing whether state could justify its determination that a spe-

cific class of inmates—those “serving LWOP terms [life sentences with-

out the possibility of parole]”—should be “den[ied] conjugal visits” (em-

phasis added)).

     By attempting to justify its absolute prohibition on conjugal visits

by relying on authority from a jurisdiction that widely accommodates

that very practice, DOC once again makes Mr. Nuñez’s case for him. In

addition to the California law that DOC is clearly familiar with, Mr.

Nuñez identified other similarly situated jurisdictions that “have suc-

cessful conjugal visit programs that provide visits to the general prison



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population and are not restricted to marriage consummation.” Br. 52–53

(citing policies in California, New York, Washington, and Connecticut).

In response, DOC offers nothing more than an unelaborated assertion

that “there is no viable alternative” to its categorical ban. Resp. Br. 25.

This is, without question, an “inadequate[] respon[se] to the less restric-

tive policies that [Mr. Nuñez] brought to the Department’s attention.”

Holt, 574 U.S. at 372 (Sotomayor, J., concurring); see Fulton, 141 S. Ct.

at 1882; Mast v. Fillmore Cnty., 141 S. Ct. 2430, 2433 (2021) (Gorsuch, J.

concurring).

     At bottom, DOC’s insistence that there is “no way” to further its

interests without a categorical denial of all conjugal visits is not credible.

Beyond giving DOC the chance to “consider a limited accommodation ex-

clusively for the purposes of marriage consummation,” Mr. Nuñez pro-

vided several commonsense strategies DOC could implement to fulfill its

safety, health, and administrative goals, including pre- and post-visit se-

curity checks, STD testing, and strict regulation of clothing and accesso-

ries during conjugal visits. Br. 40, 49–50. DOC does not acknowledge,

let alone rebut, “these obvious alternatives,” Ramirez, 142 S. Ct. at 1281,




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and thus does not come close to satisfying RLUIPA’s least-restrictive-

means test.

III. DOC’s Denial of Mr. Nuñez’s Request For A Religious Cir-
     cumcision Violates RLUIPA.

     DOC concedes that its “denial of [Mr.] Nuñez’s request to be circum-

cised” has substantially burdened his religious exercise under RLUIPA.

Resp. Br. 27. Mr. Nuñez is therefore entitled to a religious circumcision

unless DOC can prove it has a compelling interest in denying his request

and it is advancing that interest in the least restrictive way. Ramirez,

142 S. Ct. at 1277; see City of Boerne v. Flores, 521 U.S. 507, 509, 534

(1997) (strict scrutiny is the “most demanding test known to … law”).

Before even reaching its alleged compelling interests, however, DOC’s re-

sponse stumbles. First, DOC again claims it simply has a “legitimate

penological interest” in denying Mr. Nuñez’ request. Resp. Br. 26–27. As

explained above, DOC needs to prove a compelling interest, not merely a

legitimate interest. Supra Part I.A.

     Second, DOC repeatedly cites cases applying irrelevant legal stand-

ards. Winslow and Cowher, for instance, are constitutional cases apply-

ing the Eighth Amendment’s “deliberate indifference” standard, which

has nothing to do with this case. See Winslow v. Prison Health Servs.,


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406 F. App’x 671, 675 (3d Cir. 2011); Cowher v. Pike Cnty. Corr. Facility,

No. 3:16-cv-02259, 2019 WL 3302415, at *11 (M.D. Pa. July 23, 2019).

Fields v. Paramo is similarly inapplicable. No. 2:16-cv-1085, 2019 WL

4640502 (E.D. Cal. Sept. 24, 2019). There, the court analyzed the plain-

tiff’s claim under the deferential Turner standard (upholding any re-

striction “reasonably related to a legitimate penological interest”) be-

cause the court found his RLUIPA claim moot. Id. at *4, 7–8; see Gad v.

Northampton Cnty., No. 18-cv-3900, 2023 WL 2026630, at *12 (E.D. Pa.

Feb. 15, 2023) (“The Turner standard is ‘much less demanding’ than the

strict scrutiny standard applied to RLUIPA claims.” (citation omitted)).

     The only case DOC cites that even arguably applied RLUIPA is

Vega—an out-of-circuit, unpublished, pre-Holt, magistrate judge opinion

which relied heavily on its earlier-in-the-opinion Turner analysis to deny

a request for “elective circumcision.” Vega v. Lantz, No. 3:04-cv-1215,

2013 WL 6191855, at *8 (D. Conn. Nov. 26, 2013). Even on its own terms,

however, Vega provides no support for DOC. Vega concluded that (1)

prisoner identification and (2) minimizing cost were both compelling in-

terests. Id. Here, DOC (for obvious reasons) does not claim that prisoner

identification is a compelling interest, and, as explained infra, DOC has



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not come close to demonstrating that cost saving is a compelling interest

in this case.

      A.    DOC Has No Compelling Interest In Denying Mr.
            Nuñez’s Religious-Based Request For A Circumcision.

      DOC failed to prove that any government interest it identified—

cost, health-related complications, and “no cosmetic surgeries”—is com-

pelling or furthered by its denial of Mr. Nuñez’s request for a religious-

based circumcision.

      Cost. As explained, RLUIPA requires prison systems to spend re-

sources to accommodate religious exercise. Br. 55–56; see 42 U.S.C. §

2000cc-3(c). And circumcising Mr. Nuñez is a low-cost, one-time proce-

dure that DOC can certainly afford to accommodate. See Br. 56. DOC’s

only response is to claim that it has a legitimate penological interest in

“conserving government resources.” Resp. Br. 27. But DOC fails to ex-

plain how a low-cost, outpatient surgery could possibly strain DOC’s 2.8-

billion-dollar budget. Even assuming an estimated cost of $3,500 for the

surgery, Resp. Br. 28, that is far less than “sexual reassignment surgery”

(which DOC does not dispute it now covers and has permitted), Resp. Br.

28-29, and far less than this litigation has already cost the Department.

Because DOC pays for sexual reassignment surgeries that can cost


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upward of $100,000, it cannot demonstrate a compelling interest in deny-

ing Mr. Nuñez’s request for a one-time, low-cost, religiously-mandated

surgery. See Br. 61.

     DOC also fails to demonstrate a compelling interest in cost saving

because it has not come forward with any information specific to the cost

of Mr. Nuñez’s circumcision. Under RLUIPA, DOC has the burden of

showing that its alleged interest is compelling as applied to Mr. Nuñez—

speculation and generalities do not suffice. See Br. 16; Holt, 574 U.S. at

362–63. But here, DOC merely lists the basic steps required to complete

a circumcision in prison. See Resp. Br. 27. It does not provide any infor-

mation specific to Mr. Nuñez’s circumstances, nor has it provided any

information on how much it would cost for Mr. Nuñez specifically to be

circumcised. By failing even to analyze its alleged interest as applied to

Mr. Nuñez, DOC cannot carry its burden of demonstrating a compelling

interest in cost saving.

     Health complications. As Mr. Nuñez explained, the risk of health

complications from circumcision is vanishingly small. Br. 58. Regard-

less, Mr. Nuñez has agreed to sign an informed consent waiver assuming

any medical or liability risks that may occur after surgery. Id. DOC has



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no response. Instead, DOC merely repeats its concern that it would have

to foot the bill should a complication arise. Resp. Br. 28 (Mr. Nuñez

would “come back into the prison with the potential for further complica-

tions, which the Department would have to pay for” (emphasis added)).

This overlooks, as Mr. Nuñez has repeatedly explained, his willingness

to assume the (unlikely) risk of health complications. Thus, the only

health-related concern articulated by DOC (cost to the prison) is easily

alleviated by Mr. Nuñez’s willingness to assume any liability that DOC

might otherwise incur.

     What is more, the health complications associated with “sexual re-

assignment surgery,” Resp. Br. 28, are far more common and costly than

those which might arise from circumcision, Br. 60–61. Because DOC is

willing to assume much greater risks following “sexual reassignment sur-

gery and related treatment,” JA264, it cannot hope to demonstrate that

an interest in limiting health complications is compelling as applied to

Mr. Nuñez’s modest request for a religious circumcision.

     “No cosmetic surgeries.” As explained, Mr. Nuñez’s religious cir-

cumcision is not cosmetic surgery. It is a religious mandate, not an at-

tempt to improve his physical appearance or—as DOC claimed without



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any support—increase “sexual gratification.” Br. 59, 60. DOC has no

response. It simply asserts that it has a policy barring cosmetic surger-

ies, and that Mr. Nuñez’s surgery is cosmetic because he “seeks to compel

the Commonwealth government to pay for his circumcision.” Resp. Br.

28. This is a non sequitur. Tellingly, DOC offers no other response to

Mr. Nuñez’s argument that a religious circumcision is not cosmetic sur-

gery. Because DOC’s policy does not even apply to Mr. Nuñez’s surgery,

its application certainly cannot be compelling.

     Even if Mr. Nuñez’s surgery qualified as cosmetic, merely pointing

to the existence of a policy banning cosmetic surgery is not sufficient to

satisfy strict scrutiny. The existence of a “no dogs allowed” sign is not

itself a compelling reason to exclude dogs from the park. To justify its

canine exclusion, the government would have to explain why it adopted

the policy. Here, all DOC does is point to its policy. But its policy is not

self-justifying, and DOC’s silence regarding the policy’s rationale leaves

mere speculation, which is not enough.

     Finally, DOC argues that comparing this case to DOC’s decision to

pay for sex reassignment surgery is inapt because (1) Mr. Nuñez did not

preserve an equal protection argument, and (2) the record does not



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address sex reassignment surgeries “during the time frame of the events

in this lawsuit.” Resp. Br. 29. Both objections miss the mark.3

     First, Mr. Nuñez is not making an equal protection claim. Rather,

his argument is that, by paying for sex reassignment surgery, DOC has

undermined its claim that it has a compelling interest in denying his re-

ligious circumcision. See Br. 60–61; Church of the Lukumi Babalu Aye,

Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993) (explaining that an in-

terest is not compelling if “[t]he proffered objectives are not pursued with

respect to analogous nonreligious conduct”). Here, because DOC pays for

sex reassignment surgeries—which are undeniably expensive and

fraught with potential health complications—it cannot claim that deny-

ing this religious circumcision (a far cheaper and simpler procedure) is

necessary to save money and prevent health complications. Cf. Reed v.

Town of Gilbert, 576 U.S. 155, 172 (2015).

     Second, DOC’s current actions and policies related to other surger-

ies are directly relevant to Mr. Nuñez’s request. DOC says that “no facts



3 Mr. Nuñez takes no position on DOC’s decision to pay for sexual reas-

signment surgeries; his point is simply that by permitting and agreeing
to pay for such surgeries, DOC has all but abandoned any argument that
it cannot accommodate his request for a religious circumcision.

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of record” describe its position on “transgender health care” during this

lawsuit. Resp. Br. 29. But as DOC admits, the record evidence cited by

Mr. Nuñez is DOC’s own official policy removing sexual reassignment

surgery from its list of “non-provided medical services.” Id.; JA264. This

Court should firmly reject DOC’s attempt to flee from its own official pol-

icy. Further, this Court can undoubtedly take judicial notice of the fact

that, since adopting this policy in 2015, DOC has paid for a sexual reas-

signment surgery. Br. 61 n.15; see e.g., Gov’t Emps. Ret. Sys. of Virgin

Islands v. Gov’t of Virgin Islands, 995 F.3d 66, 92 (3d Cir. 2021).

     B.    DOC’s Ban On All Circumcisions, Even Those With A
           Religious Basis, Is Not The Least Restrictive Means Of
           Furthering Its Purported Interests.

     DOC has not shown why it cannot accommodate his religious cir-

cumcision when other prison systems—most notably Florida’s (the third

largest in the country)—allow the same procedure. Br. 62–64. Besides

simply stating as much in a single conclusory sentence, Resp. Br. 29,

DOC says nothing about how its ban on religious circumcision is actually

the least restrictive means of advancing its alleged interests. Nor does

the record contain any evidence that DOC investigated—let alone consid-

ered—how other jurisdictions accommodate requests for religious



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circumcisions. See Br. 64; Washington, 497 F.3d at 284 (concluding that

“the Government must consider and reject other means before it can con-

clude that the policy chosen is the least restrictive means”). By simply

ignoring other jurisdictions, DOC has failed to satisfy the least restrictive

means requirement of strict scrutiny.

                              CONCLUSION

     The Court should reverse the district court’s grant of summary

judgment.



June 21, 2023                               Respectfully submitted,

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